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                    IN THE UNITED STATES DISTRICT COURT
         FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION
__________________________________________
                                            )
J.O.P., et al.,                             )
                                            )
                Plaintiffs,                 )
                                            )
        v.                                  ) Case No. 8:19-cv-01944-SAG
                                            )
U.S. DEPARTMENT OF HOMELAND                 )
SECURITY, et al.                            )
                                            )
                Defendants.                 )
__________________________________________)


                        DEFENDANTS’ MOTION TO SEAL

        Pursuant to Local Rule 105.11, Defendants respectfully request that this Court

enter an order sealing four items, specifically their response to the Court’s Order (ECF

319) and three associated Exhibits, Exhibits A, C and D. Exhibit A is a May 9, 2025

unredacted declaration by Michael Kozak, Senior Bureau Official within the Bureau of

Western Hemisphere Affairs (WHA) of the United States Department of State. Exhibit C

is a May 20, 2025 letter from the U.S. Ambassador to El Salvador to the Ministry of

Foreign Affairs (MFA) for El Salvador. Exhibit D is a May 10, 2025 intra-Department of

State cable. As good cause therefore, Defendants state:

1.      Local Rule 105.11 requires that “[a]ny motion seeking the sealing of pleadings,

motions, exhibits, or other documents to be filed in the Court record shall include (a)

proposed reasons supported by specific factual representations to justify the sealing and

(b) an explanation why alternatives to sealing would not provide sufficient protection.”

Loc. R. 105.11.




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2.      Defendants are mindful that the Court “presumes a right of the public to inspect

and copy ‘all judicial records and documents.’” Va. Dep’t of State Police v. Wash. Post,

386 F.3d 567, 575 (4th Cir. 2004) (quoting Stone v. Univ. of Md. Med. Sys. Corp., 855

F.2d 178, 180 (4th Cir. 1988)). However, the presumptive right of public access to court

records “can be rebutted if countervailing interests heavily outweigh the public interests

in access.” Va. Dep’t of State Police, 386 F.3d at 575; Rock v. McHugh, 819 F. Supp. 2d

456, 475 (D. Md. 2011). “The party seeking to overcome the presumption bears the

burden of showing some significant interest that outweighs the presumption.” Rushford v.

The New Yorker Magazine, Inc., 846 F.2d 249, 253 (4th Cir. 1988). Ultimately, the

“decision whether to grant or restrict access to judicial records or documents” under the

common law is “best left to the sound discretion of the [district] court.” Va. Dep’t of State

Police, 386 F.3d at 575 (quoting Nixon v. Warner Communications, Inc., 435 U.S. 598–

99 (1978)).

3.      The Court has entered an Amended Protective Order, ECF No. 302, governing the

handling of confidential information which, among other things, includes “sensitive

information about “Defendants’ law enforcement or national security staffing, resources,

intelligence and/or methods (including the names and contact information of third parties,

and non-supervisory federal and non-federal employees), the release of which to the

public may adversely impact identifiable law enforcement or national security interests;”

“sensitive information regarding diplomatic negotiations between the United States and

foreign countries, the release of which to the public may adversely impact the foreign

policy and/or national security interests of the United States;” and “personally

identifiable information related to third parties other than the individual whose



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information is being sought.” ECF No. 302 at 2–3. Defendants’ also note that the

exhibits for this filing were already entered in another matter under seal. 1

4.      The Court has also directed the parties to refer to the class member at issue in

these proceedings by the pseudonym “Cristian” and has also recognized the

confidentiality of this matter in granting Class Counsel’s Motion to Proceed Under

Pseudonym for this individual. See ECF No. 253 at 16 (“Here, Plaintiffs’ declarations

make clear that they do not seek to proceed under pseudonym “merely to

avoid…annoyance and criticism” but “to preserve privacy” and security in a ‘sensitive’

matter.”).

5.      Courts have recognized that “[t]he President has the sole power to negotiate

treaties.” Zivotofsky ex rel. Zivotofsky v. Kerry, 576 U.S. 1, 13 (2015). “Diplomacy takes

place in a wide array of fora, through many actors within the Executive Branch.” J.O.P.

v. United States Dep't of Homeland Sec., No. 25-1519, 2025 WL 1431263, at *13 (4th

Cir. May 19, 2025) (J. Richardson, dissenting) (citing Zivotofsky, 576 U.S. at 13–14).

Such negotiations can be sensitive and can require “discretion,” id. at 13, and indeed the

Fourth Circuit has recognized that it is appropriate for “sensitive diplomatic negotiations

to be removed from public view.” Abrego Garcia v. Noem, No. 25-1404, 2025 WL

1135112, at *1 (4th Cir. Apr. 17, 2025).

6.      Additionally, government employees “have a legitimate interest in preserving the

secrecy of matters that conceivably could subject them to annoyance or harassment in

either their official or private lives”. Lamb v. Millennium Challenge Corp., 334 F. Supp.




1 The Court, in J.G.G. v. Trump, No. 25-0766-JEB granted the order to seal the same

exhibits in a minute order on July 14, 2025.
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3d 204, 216–17 (D.D.C. 2018) (quoting Lesar v. United States Dep't of Justice, 636 F.2d

472, 487 (D.C. Cir. 1980)).

7.      Sealing Defendants’ response to the Court’s Order (ECF 319) filed July 8, 2025 is

necessary because Defendants discuss and quote in the memorandum information

contained in Exhibit A, which is a May 9, 2025 Declaration by Department of State

Senior Bureau Official Michael Kozek (SBO) within the Bureau of Western Hemisphere

Affairs (WHA). This declaration is attorney’s eyes only information (DEF-00000793 to

DEF-00000797). Filing under seal is accordingly necessary for Defendants to comply

with their obligations under the Amended Protective Order (ECF 302). Defendants will

file a redacted version (DEF-00000798 to DEF-00000802) with their public filing. With

respect to Defendants’ memorandum in support of their response to the Court’s Order

(ECF 319), Defendants’ have redacted the following:

        A) (Last line of Page 3 and a majority of Page 4) which discusses a sensitive

             diplomatic letter between sent from the U.S. Ambassador to El Salvador to the

             Ministry of Foreign Affairs for El Salvador. It also discusses sensitive foreign

             affairs information in the form of an intra-Department of State cable

             discussing diplomatic engagement between the United States and El Salvador.

             This diplomatic correspondence is sensitive government information as

             defined in the amended protective order (ECF 302 at p4, ¶ (d))

With respect to Defendants’ Exhibit A, Defendants request to seal because of the

following:

        A) Exhibit A, (May 9, 2025 unredacted declaration by SBO Michael Kozak),

             contains sensitive government information related to the conduct of foreign



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        affairs. The disclosure of the information contained in this exhibit could

        reasonably be expected to cause significant harm to the foreign relations

        interest of the United States. A redacted version will be filed publicly along

        with Defendants’ response to ECF 319.

   B) Exhibit C, (May 20, 2025 letter from the U.S. Ambassador to El Salvador to

        the MFA for El Salvador), contains sensitive government information related

        to the conduct of foreign affairs. The disclosure of the information contained

        in this exhibit could reasonably be expected to cause significant harm to the

        foreign relations interest of the United States. Exhibit C will be a placeholder

        in Defendants’ publicly filed response to ECF 319.

   C) Exhibit D, (May 10, 2025 intra-Department of State cable) contains sensitive

        government information related to the conduct of foreign affairs. The

        disclosure of the information contained in this exhibit could reasonably be

        expected to cause significant harm to the foreign relations interest of the

        United States. Exhibit D will be a placeholder in Defendants’ publicly filed

        response to ECF 319.

   8.      Defendants recognize that this Court and the Plaintiffs in this action must

   receive copies of any materials filed under seal. Accordingly, Defendants will

   serve the sealed documents upon class counsel and provide a courtesy copy to the

   Court. Accordingly, Defendants respectfully request that this Court enter an order

   sealing Defendants’ response to the Court’s Order (ECF 319) and three associated

   exhibits, (A, C and D).




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Dated: July 15, 2025              Respectfully submitted,

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                           CERTIFICATE OF SERVICE

       I hereby certify that on July 15, 2025, I served a copy of the foregoing on counsel

for Plaintiffs via the Court’s CM/ECF e-filing system.

                                                    /s/ Erhan Bedestani
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